Case 0:06-cv-60066-RAR Document 82 Entered on FLSD Docket 05/06/2024 Page 1 of 4



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 06-CV-60066-RAR

  PAUL J. SPINNER,

         Plaintiff,

  v.

  JOHN ACUNTO and ADSOUTH, INC.,

        Defendants.
  ______________________________________________/

                 ORDER DENYING DEFENDANT’S MOTION TO SET ASIDE
                  AND/OR VACATE FINAL JUDGMENT UPON DEFAULT

         THIS CAUSE is before the Court on Defendants’ Motion to Set Aside and/or Vacate

  Order Granting Plaintiff’s Motion for Final Judgment upon Default of Settlement Agreement,

  [ECF No. 76] (“Motion”). After reviewing the Motion, Plaintiffs’ Response [ECF No. 78]

  (“Response”), and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED that the Motion, [ECF No. 76], is DENIED for the

  reasons set forth below.

                                          BACKGROUND

         Defendant John Acunto, proceeding pro se, seeks to set aside the Court’s April 14, 2008

  Final Judgment Order, arguing—nearly 16 years later—that the Order is void for lack of due

  process, pursuant to Federal Rule of Civil Procedure 60(b)(4). Mot. at 8. In 2007, the parties to

  the instant action reached a settlement and notified the Court, [ECF No. 42]. Later that same year,

  Plaintiff filed a motion to enforce the settlement, and following motion practice and a hearing, the

  Court found the parties reached an agreement and directed settlement payment. See [ECF Nos.

  44, 48, 52, 54, 57, 60, 61].
Case 0:06-cv-60066-RAR Document 82 Entered on FLSD Docket 05/06/2024 Page 2 of 4



         On November 13, 2007, the Court entered an Order Granting Defendants’ Counsel’s

  Motion to Withdraw (“Order Withdrawing Counsel”), [ECF No. 64], and on March 24, 2008, the

  Court entered an Order Granting Plaintiff’s Motion for Final Judgment upon Default of Settlement

  Agreement; Entry of Final Judgment; Closing Case (“Final Judgment Order”), [ECF No. 71]. The

  Court entered the Final Judgment Order noting that Plaintiff informed the Court that Defendants

  failed to make settlement payments and failed to respond to the Motion for Final Judgment. Final

  Judgment Order at 1. However, Acunto states that his former counsel failed to inform him of the

  proceedings and that he no longer resided at the address where the Order Withdrawing Counsel

  and Final Judgment Order were provided. Mot. at 5–7. The first time he learned of the Final

  Judgment Order, he claims, was December 26, 2023. Id. at 7.

                                         LEGAL STANDARD

         The Supreme Court has held that Rule 60(b) provides for “extraordinary relief which may

  be granted only upon an adequate showing of exceptional circumstances.” United States v. Young,

  806 F.2d 805, 806 (1987) (emphasis added). A court may relieve a party from a final judgment

  or order if “the judgment is void.” Fed. R. Civ. P. 60(b)(4). “Rule 60(b)(4) applies only in the

  rare instance where a judgment is premised either on a certain type of jurisdictional error or on a

  violation of due process that deprives a party of notice or the opportunity to be heard.” United

  Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 270–71 (2010) (citations omitted). 1 Due

  process requires notice “reasonably calculated, under all the circumstances, to apprise interested

  parties of the pendency of the action and afford them an opportunity to present their objections.”



  1
    Although a motion under Rule 60(b) must generally be made “within a reasonable time,” the Eleventh
  Circuit has held motions seeking relief under Rule 60(b)(4) are not bound by this time constraint. Hertz
  Corp. v. Alamo Rent-A-Car, Inc., 16 F.3d 1126 (11th Cir. 1994); see also Stansell v. Revolutionary Armed
  Forces of Colombia, 771 F.3d 713, 738 (11th Cir. 2014); A & F Bahamas LLC v. World Venture Grp., Inc.,
  796 F. App’x 657, 661 (11th Cir. 2020).

                                               Page 2 of 4
Case 0:06-cv-60066-RAR Document 82 Entered on FLSD Docket 05/06/2024 Page 3 of 4



  Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950). “The defendant has the

  burden of proof when seeking relief from a judgment under Rule 60(b)(4).” In re Worldwide Web

  Systems, Inc., 328 F.3d 1291, 1298-99 (11th Cir. 2003).

         Acunto argues that Rule 60(b)(4) applies because he was not afforded the opportunity to

  litigate the Motion for Final Judgment, and he “was denied due process in that he never received

  copies of the Motion for Final Judgment, the Affidavits filed in support, or the Final Judgment

  itself.” Mot. at 8. However, Acunto was fully aware of the pendency of the litigation—served

  with the summons and Complaint, [ECF No. 12]—and afforded a “full and fair” opportunity to

  litigate his claims. Espinosa, 559 U.S. at 276. Acunto even indicated his understanding that the

  co-defendant, Adsouth Inc., was required to indemnify him. Mot. at 2. Cases determining the

  applicability of Rule 60(b)(4) discuss whether a defendant was served in the case at all, not

  whether they were kept apprised of the litigation or served with a final default judgment order.

  See, e.g., Varnes v. Local 91, Glass Bottle Blowers Ass’n, 674 F.2d 1365, 1368 (11th Cir. 1982)

  (finding a judgment void under Rule 60(b)(4) where the defendant was not properly served); In re

  Worldwide Web, 328 F.3d at 1299 (explaining “insufficient service of process under Rule

  60(b)(4) implicates personal jurisdiction and due process concerns”). Here, Acunto cites no

  authority in support of the application of Rule 60(b)(4) to the present circumstances.

         Indeed, Acunto was represented by counsel throughout the pendency of the instant

  litigation. Acunto, through his counsel Lee & Amtzis, participated in the litigation to brief the

  Motion to Enforce Settlement, [ECF No. 44], and was still represented when the Court fully

  adjudicated the case—issuing an order that granted the Motion to Enforce Settlement and keeping

  the case closed. See Order Adopting Amended Report and Recommendations of Magistrate Judge

  Turnoff (“Order Adopting Amended Report”), [ECF No. 61]. The Order Adopting Amended



                                             Page 3 of 4
Case 0:06-cv-60066-RAR Document 82 Entered on FLSD Docket 05/06/2024 Page 4 of 4



  Report directed Defendants to pay Plaintiff the settlement amount in installments and stated that,

  upon default, the whole settlement amount would become payable, with interest. Id. at 1–2. And

  the Final Judgment Order did not grant additional relief; it simply ordered that Plaintiff shall

  recover from Defendants the sum of the settlement agreement, plus pre-judgment interest.

         Further, Acunto has not met his burden of proof to warrant voiding the Final Judgment

  Order. While he claims he was not given notice that settlement discussions had apparently broken

  down, Mot. at 3, he does not argue that his attorneys were withholding information or acting

  outside the scope of his discretion. While Acunto claims the Order Withdrawing Counsel and the

  Final Judgment Order were mailed to an address where he no longer resided, he does not explain

  that he updated his attorneys or the Court with a new address. Nevertheless, this alleged

  deprivation did not amount to a violation of due process, which requires notice “reasonably

  calculated, under all the circumstances, to apprise interested parties of the pendency of the action

  and afford them an opportunity to present their objections.” Espinosa, 559 U.S. at 261 (quoting

  Mullane, 339 U.S. at 314.

                                           CONCLUSION

         For the reasons set forth above, it is hereby

         ORDERED AND ADJUDGED that Defendants’ Motion, [ECF No. 76], is DENIED.

         DONE AND ORDERED in Miami, Florida, this 6th day of May, 2024.



                                                            _________________________________
                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE




                                              Page 4 of 4
